EXHIBIT 6
March 17, 2020
Joint Statement of the Office of Governor JB Pritzker, Illinois
Education Association, Illinois Federation of Teachers, Illinois
Association of School Administrators, Illinois Principals Association,
and Illinois State Board of Education
These are unprecedented times, but we are all together with the goal of
caring for students. Our organizations are truly inspired by the
phenomenal cooperation shown across the state and encourage all of our
members to be reasonable, creative, and generous while determining
what’s best for our students in Illinois. ISBE has announced that these will
be Act of God Days. To assist our members during this time, the
leadership of the IEA, IFT, IASA, and IPA have prepared this joint
guidance with the Office of Governor JB Pritzker and ISBE to be effective
through March 30, 2020. As this is a rapidly evolving situation,
subsequent guidance may be released.
From March 17 through March 30, all school district employees on the
district’s payroll will get paid as if the schools were functioning normally,
regardless of the district plans developed during this time. These school
days will not be made up. All employees will get paid as if they did all the
normal work they would have done if schools were functioning normally.
Normal pay includes salary, hourly and stipend pay, benefits, and
employees will receive full and normal service credit in their pension
systems.
From March 17 through March 30, the employer can expect school district
employees to participate in work activities in some form. The concrete
details of the work, including stipend work, that will occur during this
timeframe must be worked out through mutual agreement, but negotiations
should focus on ensuring (1) continuity of education, (2) provision of
meals, and (3) other student support measures as appropriate for each
district. Public health and safety of students and staff are paramount, and
to the extent work can be done remotely, it should be. Illinois Department
of Public Health and Centers for Disease Control and Prevention
recommendations on social distancing and group gatherings should be
adhered to. Employers should not require any more employees than
absolutely necessary to come to school.
No school district can unilaterally change the use of benefit days. We
encourage local collaboration on the use of benefit days and encourage
ways to support anyone who is sick or is caring for a sick family member.
We acknowledge that the current law on teacher evaluation and Reduction
in Force (honorable dismissal and layoff) remains in full force including
all timelines and existing statutory language. If necessary, meetings and
evaluation conferences associated with these statutes will occur remotely.




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